                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF TENNESSEE
                           NASHVILLE DIVISION


UNITED STATES OF AMERICA              )
                                      )
v.                                    )   Criminal Case 3:09-00240-2
                                      )   Magistrate Judge Knowles
FAITH READUS                          )


                                 O R D E R


      Pending before the Court is Defendant’s Motion to Re-Open

Detention Hearing.      Docket No. 2333.      The Motion is granted, and

the Detention Hearing is scheduled for Tuesday, July 23, 2013, at

10:00 a.m. before the undersigned.

      IT IS SO ORDERED.




                                     E. CLIFTON KNOWLES
                                     United States Magistrate Judge




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